AO 440 (Rev. 06/12) Summons in a Civil Action

                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District of Wisconsin

                                                                       )
                                                                       )
                            Michael Toy                                )
                                                                       )
                             Plaintiff(s)                              )
                                  v.                                   )     Civil Action No. 18-cv-1341
                                                                       )
                                                                       )
                                                                       )
                 Water Street Brewery, Inc. et al.                     )
                            Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION
                                        Water Street Brewery, Inc
To:   (Defendant’s name and address)
                                        c/o Registered Agent Robert C .Schmidt Jr
                                        1122 N Edison Street
                                        Milwaukee, WI 53202

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you receive it) – or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the plaintiff’s attorney, whose
name and address are:           Summer H. Murshid, Larry A. Johnson, and Timothy P. Maynard
                                            Hawks Quindel, S.C.
                                            P.O. Box 442
                                            Milwaukee, WI 53201-0442
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               STEPHEN C. DRIES, CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk




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Civil Action No. 18-cv-1341

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons and the attached complaint for (name of individual and title, if any):


were received by me on (date)                                           .

          ☐ I personally served the summons and the attached complaint on the individual at (place):


                                                                                   on (date)                              ; or

          ☐ I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

                                                                            , a person of suitable age and discretion who resides there,

          on (date)                                      , and mailed a copy to the individual’s last known address; or

          ☐ I served the summons and the attached complaint on (name of individual)

          who is designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                                 ; or

          ☐ I returned the summons unexecuted because                                                                                   ; or

          ☐ Other (specify):

                                                                                                                                               .

          My fees are $                            for travel and $                      for services, for a total of $          0.00

          I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server’s signature



                                                                                                Printed name and title




                                                                                                   Server’s address


Additional information regarding attempted service, etc.:




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